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18
                       IN THE UNITED STATES DISTRICT COURT
19                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                SOUTHERN DIVISION
20
21      MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and            )
22      CERCACOR LABORATORIES, INC.,           ) PLAINTIFFS’ WITNESS LIST
        a Delaware corporation                 )
23                                             )
                    Plaintiffs,                )
24                                             ) Pre-Trial Conf.:   3/13/2023
              v.                               ) Trial:             3/27/2023
25                                             )
        APPLE INC., a California corporation   ) Hon. James V. Selna
26                                             )
                    Defendant.                 )
27                                             )
                                               )
28                                             )
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1             Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc. (“Masimo”)
2      provide this Witness List.
3             Masimo reserves the right to amend its list of witnesses as the parties continue
4      pre-trial preparation and in view of events at trial or other developments, including
5      evidentiary rulings or other rulings by the Court. Masimo also reserves the right not to
6      call any particular witness (either live or by deposition) set forth in the list below, or to
7      present by deposition a witness listed as live below. For witnesses identified as
8      testifying by deposition, Masimo reserves the right to call such witness to testify live if
9      such witness is made available to do so. The identification of a witness on this list is not
10     an admission that the witness’s testimony is admissible if called by Defendant Apple
11     Inc. (“Apple”). Masimo also reserves its right to object to any witness or testimony that
12     is objectionable or inadmissible. The parties have previously provided the address,
13     telephone number and/or contact information for each witness.
14            Masimo identifies the following Masimo witnesses and Masimo experts that it
15     intends to call live.
16            1.     David Dalke
17            2.     Mohamed Diab
18            3.     Gerry Hammarth
19            4.     Joe Kiani
20            5.     Jeff Kinrich
21            6.     Vijay Madisetti
22            7.     Tracy Miller
23            8.     Bilal Muhsin
24            9.     Robert Palmatier
25            10.    Jeroen Poeze
26            11.    Stephen Scruggs
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1            Masimo identifies the following Masimo witnesses it may call only if the need
2      arises. Pursuant to Local Rule 16-5, Masimo has placed an asterisk (*) next to the
3      witnesses it may call only if the need arises.
4            1.     *Ammar Al-Ali
5            2.     *Kristin Budreau
6            3.     *Rick Fishel
7            4.     *Greg Olsen
8            5.     *James Pishney
9            6.     *Richard Priddell
10           7.     *Anand Sampath
11           8.     *Robert Smith
12           9.     *Phil Weber
13           10.    *Walt Weber
14           11.    *Crystal Wei
15           12.    *Micah Young
16           Masimo identifies the following third-party witness it intends to call live, and
17     reserves the right to present the witness by deposition if the witness does not appear
18     pursuant to Masimo’s trial subpoena.
19           1.     Marcelo Lamego
20           Masimo identifies the following Apple witnesses that Masimo intends to examine
21     live during Apple’s case-in-chief, with the understanding that Masimo may keep its
22     case-in-chief open and will have a full opportunity to question the below witnesses about
23     all topics when Apple calls the witness, without regard to the scope of the initial direct
24     examination. Masimo reserves the right to call the below witnesses live or by deposition
25     if Apple declines to call such witness live or refuses to agree that Masimo may examine
26     the witnesses outside the scope of direct.
27           1.     Ueyn Block
28           2.     Diedre Caldbeck
                                                    -2-
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1            3.    Steve Hotelling
2            4.    Michael O’Reilly
3            5.    Adrian Perica
4            6.    Steve Waydo
5            Masimo further identifies the following Apple or third-party witnesses that
6      Masimo may call by deposition only in lieu of live testimony. Masimo reserves the right
7      to call these witnesses live if the parties do not agree to waive the unavailability
8      requirements of Rule 32.
9            1.    David Amor
10           2.    Louis Bokma
11           3.    Aditya Dua
12           4.    Jack Fu
13           5.    Chinsan Han
14           6.    Jackie Harlow
15           7.    Michael Jaynes
16           8.    Alex Kanaris
17           9.    Eugene Kim
18           10.   Brian Land
19           11.   Nonin (Aaron Lobbestael and Jill Wroblewski)
20           12.   Paul Mannheimer
21           13.   Robert Mansfield
22           14.   Divya Nag
23           15.   Trevor Ness
24           16.   Denby Sellers
25           17.   Tao Shui
26           18.   David Tom
27           19.   Vivek Venugopal
28           20.   Jeff Williams
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1            21.    Dong Zheng
2            Masimo further reserves the right to amend its list pending the parties’ pre-trial
3      discussions and Apple’s final witness list. In addition to the witnesses identified above,
4      Masimo reserves the right to call anyone appearing on Apple’s Witness List.
5                                                Respectfully submitted,
6                                                KNOBBE, MARTENS, OLSON & BEAR, LLP
7
8      Dated: February 27, 2023                  By: /s/ Kendall M. Loebbaka
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9                                                     Stephen C. Jensen
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10                                                    Perry D. Oldham
                                                      Stephen W. Larson
11                                                    Mark D. Kachner
                                                      Baraa Kahf
12                                                    Adam B. Powell
                                                      Daniel P. Hughes
13                                                    Justin J. Gillett
                                                      Kendall M. Loebbaka
14
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15                                                      MASIMO CORPORATION and
16                                                      CERCACOR LABORATORIES, INC.
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